                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:09cr13-9


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                    ORDER
                            )
                            )
YVONNE MARIE FOUNTAIN.      )
                          )

       THIS MATTER is before the Court on the following matters:

1.     The Defendant’s Rule 33(b)(1) Motion [Doc. 639];

2.     The Defendant’s Motion to Proceed in Forma Pauperis [Doc. 641];

3.     The Defendant’s Application to Proceed in District Court without

       Prepaying Fees or Costs [Doc. 646];

4.     The Defendant’s Petition for Writ of Error Audita Querela pursuant to 28

       U.S.C. §1651 [Doc. 656];

5.     The Defendant’s Motion to Proceed in Forma Pauperis [Doc. 657];

6.     The Defendant’s Motion Requesting Grand Jury Transcripts pursuant

       to the Freedom of Information Act in accordance with 5 U.S.C. §552

       [Doc. 658];

7.     The Defendant’s Motion to Proceed in Forma Pauperis [Doc. 659]; and




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8.     The Defendant’s Motion for the Production of Transcripts and Case

       Files at Government Expense [Doc. 685].

                          PROCEDURAL HISTORY

       After a jury trial, the Defendant and two of her co-defendants were found

guilty of conspiracy to possess with intent to distribute cocaine base, in

violation of 21 U.S.C. §846. United States v. Fountain, 416 F. App’x. 304 (4 th

Cir. 2011). Due to a prior felony drug conviction, she was sentenced to a

mandatory minimum sentence of 240 months imprisonment. Id. at 307. On

appeal, the United States Court of Appeals for the Fourth Circuit affirmed

Fountain’s conviction and sentence. Id. at 312. One of the grounds raised on

appeal was Fountain’s argument that there was insufficient evidence of her

involvement in the conspiracy. On this issue, the Court of Appeals held that

the jury

       heard evidence from which it could infer that [co-conspirator]
       Bruton was a participant in a conspiracy with Foster, a conspiracy
       to which Bruton pled guilty. The jury could also infer that Fountain
       was aware of and assisted Bruton in this drug-dealing based on
       her conduct [of trying to flush the cocaine] when the search
       warrant was executed at her residence and her August 2008
       transaction. A reasonable jury could construe her acts after the
       search warrant was executed as an attempt to destroy evidence
       of the conspiracy of which she was a part.

Id. at 311.



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      Prior to the trial, Fountain requested and received a writ of habeas

corpus ad testificandum for Bruton. [Doc. 283]. She did not call him as a

witness during the trial although he was available. The Government did not

call him as a witness. As noted, Fountain’s conviction and sentence were

affirmed on appeal.

      On June 4, 2012, Fountain filed a motion pursuant to 28 U.S.C. §2255

to vacate, set aside or correct her sentence. Fountain v. United States, Civil

Case No. 1:12cv125.

                                DISCUSSION

The motions to proceed without paying fees.

      The Court first notes that the Defendant has filed four separate motions

for leave to proceed without paying fees and costs. [Doc. 641, Doc. 646, Doc.

657, Doc. 659].    It appears that the Defendant is under the erroneous

impression that she must file such a motion each time she files a motion

seeking some form of relief. Since the Defendant was found entitled to court-

appointed counsel in her criminal case, each of these motions is unnecessary

and will be denied. [Doc. 3].

The motion for a new trial.

      Fountain moves for a new trial based on newly discovered evidence,



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claiming to have “a notarized statement” from Bruton “exonerating her

participation and knowledge of his drug activity and possibly [he] had informed

the investigating agents of this knowledge as well.” [Doc. 638 at 2]. Fountain

has not fild any such statement with this Court. The substance of Fountain’s

argument is that she continues to dispute there was sufficient evidence to

convict her of involvement in the conspiracy.

       Rule 33 of the Federal Rules of Criminal Procedure provides that the

trial court may, on a defendant's motion, grant a new trial "if the interest of

justice so requires". Fed.R.Crim.P. 33. The Fourth Circuit has “observed that

a court should exercise its discretion to grant a new trial sparingly[.]” United

States v. Perry, 335 F.3d 316, 321 (4 th Cir.), cert. denied 540 U.S. 1185, 124

S.Ct. 1408, 158 L.Ed.2d 91 (2004) (internal quotation and citations omitted).

       To receive a new trial based on newly discovered evidence under
       Rule 33, a defendant must demonstrate: (1) the evidence is newly
       discovered; (2) [s]he has been diligent in uncovering it; (3) the
       evidence is not merely cumulative or impeaching; (4) the evidence
       is material to the issues involved; and (5) the evidence would
       probably produce an acquittal.

United States v. Griffin,    F. App’x.       , 2012 WL 3009462 (4 th Cir. 2012)

(citing United States v. Lighty, 616 F.3d 321, 374 (4 th Cir.), cert. denied

U.S.      , 132 S.Ct. 451, 181 L.Ed.2d 293 (2011)). Unless a defendant

demonstrates all five factors, the motion for a new trial must be denied.

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United States v. Cruz, 439 F. App’x. 209 (4 th Cir. 2011) (citing United States

v. Chavis, 880 F.2d 788, 793 (4 th Cir. 1989)).

      In considering a defendant’s claim that newly discovered evidence

warrants a new trial, the court may assess the credibility of witnesses and the

weight of the newly discovered evidence. United States v. Goff, 400 F. App’x.

1 **15 (6 th Cir.), cert. denied     U.S.       , 131 S.Ct. 1032, 178 L.Ed.2d 852

(2011) (citing United States v. Hughes, 505 F.3d 578, 593 (6 th Cir. 2007));

United States v. Arrington, 757 F.2d 1484 (4 th Cir. 1985). Indeed, the court’s

role has been described as that of “a thirteenth juror.” Goff, 400 F. App’x. at

**15. It is axiomatic that any evidence being offered in support of a motion for

a new trial must be admissible at a new trial. United States v. Lobo-Lopez,

468 F. App’x. 186 **7 (4 th Cir. 2012) (citing United States v. MacDonald, 779

F.2d 962, 964 (4 th Cir.), cert. denied 479 U.S. 813, 107 S.Ct. 63, 93 L.Ed.2d

22 (1986)).

      Here, Fountain has not placed the purported evidence before the Court.

As a result, Bruton’s alleged statement cannot be evaluated for either

credibility or admissibility. “‘[T]he district court is required to make a credibility

determination as part of its probability-of-acquittal inquiry.’” Lighty, 616 F.3d

at 373 (quoting United States v. Kelly, 539 F.3d 172, 189 (3 rd Cir. 2008)).



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       In making this credibility determination, a district court should
       focus on whether a jury probably would reach a different result
       upon hearing the new evidence. Of course, if the district court
       does not find a witness credible, it follows that the district court
       would not find the witness sufficiently persuasive to enable the
       district court to conclude that the witness’s testimony would
       probably produce an acquittal at a new trial. “To make a
       determination under this standard, the district court cannot view
       the proffered testimony in a vacuum; it must weigh the testimony
       against all of the other evidence in the record, including the
       evidence already weighed and considered by the jury in the
       defendant’s first trial.”

Id. at 374 (quoting Kelly, 539 F.3d at 189). “New evidence that bears only on

the credibility of a witness does not generally warrant the granting of a new

trial[.]” United States v. Crisp, 460 F. App’x. 216, 218 (4 th Cir.), cert. denied

  U.S.      , 132 S.Ct. 2705, 183 L.Ed.2d 62 (2012) (internal quotation and

citation omitted).

       As noted above, Fountain claims that Bruton has now disavowed her

participation in the conspiracy of which she stands convicted. She has not,

however, presented the Court with any “newly discovered evidence” to that

effect. All that the Court has is Fountain’s word as to how Bruton would

testify.   This defeats any ability on the part of the Court to assess the

credibility of such evidence. Moreover, even if Bruton gave such a statement,

it would merely be impeaching. United States v. Stallworth, 466 F. App’x. 218,

223 (4 th Cir.), cert. denied   U.S.   , 132 S.Ct. 2696, 183 L.Ed.2d 56 (2012)

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(noting that statements provided after trial refuting trial testimony not credible);

United States v. Duty, 441 F. App’x. 138 (4 th Cir. 2011) (witness recantations

of trial testimony do not warrant new trial). The evidence already weighed and

considered by the jury is unrefuted. Lighty, 616 F.3d 321.

      Furthermore, even if Bruton were to testify as Fountain claims, this is not

“newly discovered evidence.” Fountain has not shown that she would have

been unable to discover this evidence at the time of trial. United States v.

Jaramillo, 42 F.3d 920, 925 (5 th Cir.), cert. denied 514 U.S. 1134, 115 S.Ct.

2014, 131 L.Ed.2d 1013 (1995) (evidence is not newly discovered where

defendant is in possession thereof but fails to realize its relevance). In fact,

Fountain had the opportunity to call Bruton as a witness at trial but did not do

so. Thus, she has failed to show diligence in discovering the evidence.

Lastly, Fountain argued on appeal that there was insufficient evidence to

support the jury’s finding that she was a part of the conspiracy at issue.

Bender v. United States, 372 F. App’x. 638, 641-42 (6 th Cir. 2010) (argument

raised and rejected on appeal does not constitute newly discovered

evidence).

      Fountain has failed to show that the evidence she claims to have

qualifies as newly discovered, credible, admissible, or material or that it would



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probably produce an acquittal. Griffin,       F. App’x.    , 2012 W L 3009462.

The motion therefore must be denied. Cruz, 439 F. App’x. 209.

The petition for a writ of error audita querela.

      Fountain received a sentence of 240 months, which is the mandatory

minimum sentence provided in 21 U.S.C. §841(b) because of her prior state

felony drug conviction. She now argues that United States v. Simmons, 649

F.3d 237 (4 th Cir. 2011), requires that she be granted relief pursuant to the All

Writs Act, 28 U.S.C. §1651.

      Fountain presently has pending a motion pursuant to 28 U.S.C. §2255.

Fountain v. United States, Civil Case No. 1:12cv125. The writ of audita

querela is not available to a federal prisoner where postconviction relief is

cognizable pursuant to 28 U.S.C. §2255. United States v. Holt, 417 F.3d

1172, 1175 (11 th Cir. 2005) (citing In re Rushing-Floyd, 62 F. App’x. 64, 64-65

(4 th Cir. 2003)). The motion therefore must be denied.

The motion for grand jury transcripts.

      Fountain asks that she be provided with transcripts of the grand jury

proceedings which culminated in her indictment. As support for that request,

she cites the Freedom of Information Act (FOIA), 5 U.S.C. §552. “A federal

court is not subject to the federal [FOIA].” In re Walker, 2010 WL 2044651



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**1 n.1 (D.S.C. 2010) (emphasis in original). FOIA provides that “[e]ach

agency shall make available to the public information ... .” 5 U.S.C. §552(a)

(emphasis provided). The Act specifically excludes “the courts of the United

States” from the definition of agency. 5 U.S.C. §551(1)(B). Cases interpreting

the statute have upheld this exclusion of the United States Courts from the

provisions of FOIA. Gayle v. Johnson, 275 F. App’x. 211, 212 n.1 (4 th Cir.

2008), cert. denied 129 S.Ct. 728, 172 L.Ed.2d 732 (2008); United States v.

Mitchell, 2003 WL 22999456 (4 th Cir. 2003); United States v. Alcorn, 6 F.

App’x. 315 (6 th Cir. 2001); Smith v. United States District Courts for the

Southern District of Illinois, 956 F.2d 647, 648 n.1 (7 th Cir. 1992); Brown &

Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1176 (6 th Cir.), cert.

denied 465 U.S. 1100, 104 S.Ct. 1595, 80 L.Ed.2d 127 (1984) (FOIA

specifically exempts the federal courts from its disclosure requirements.);

United States v. McVeigh, 918 F.Supp. 1452 (W.D.Ok. 1996) (FOIA applies

to executive branch agencies, not the United States Courts.). The motion is

therefore denied.

The motion for transcripts at government expense.

      In the last motion, Fountain asks for copies of transcripts and “case files”

at government expense. No further information is provided to explain why she



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needs such a broad range of documents.

      The Defendant’s criminal case is concluded and the Fourth Circuit has

affirmed her conviction and sentence. Although she has a pending motion

pursuant to §2255, this motion was filed in her criminal case. 28 U.S.C.

§2250. Prisoners are not entitled to copies of documents at government

expense absent a showing of particularized need. United States v. Lewis, 37

F.3d 1510 (10 th Cir. 1994) (applying particularized need showing to request

for documents); Wallace v. United States, 2007 WL 4568971 n.3 (W .D.N.C.

2007); United States v. Adams, 2007 WL 1302543 (D.Kan. 2007) (same

standard applied to prisoner requests for documents as to transcripts). In fact,

such documents and transcripts may not be furnished at government expense

unless this Court "certifies that the suit ... is not frivolous and that the

transcript is needed to decide the issue presented by the suit[.]" 28 U.S.C.

§753(f).   Since the criminal case is concluded, there is no issue to be

determined. "An indigent is not entitled to a transcript [and documents] at

government expense without a showing of need, merely to comb the record

in the hope of discovering some flaw." Jones v. Superintendent, Virginia State

Farm, 460 F.2d 150, 152 (4th Cir. 1972), cert. denied 410 U.S. 944, 93 S.Ct.

1380, 35 L.Ed.2d 611 (1973). Likewise, “across the board fishing expeditions”



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do not constitute a “particularized need.” United States v. Kin, 577 F.2d 473,

478 (9 th Cir. 1978). This motion is therefore denied.

                                    ORDER

        IT IS, THEREFORE, ORDERED as follows:

1.      The Defendant’s Rule 33(b)(1) Motion [Doc. 639] is hereby DENIED.

2.      The Defendant’s Motion to Proceed in Forma Pauperis [Doc. 641] is

        hereby DENIED.

3.      The Defendant’s Application to Proceed in District Court without

        Prepaying Fees or Costs [Doc. 646] is hereby DENIED.

4.      The Defendant’s Petition for Writ of Error Audita Querela pursuant to 28

        U.S.C. §1651 [Doc. 656] is hereby DENIED.

5.      The Defendant’s Motion to Proceed in Forma Pauperis [Doc. 657] is

        hereby DENIED.

6.      The Defendant’s Motion Requesting Grand Jury Transcripts pursuant

        to the Freedom of Information Act in accordance with 5 U.S.C. §552

        [Doc. 658] is hereby DENIED.

7.      The Defendant’s Motion to Proceed in Forma Pauperis [Doc. 659] is

        hereby DENIED.




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8.      The Defendant’s Motion for the Production of Transcripts and Case

        Files at Government Expense [Doc. 685] is hereby DENIED.



                                      Signed: September 18, 2012




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